      Case: 3:20-cv-00856-wmc Document #: 50 Filed: 11/16/21 Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


JANE DOE,
                                                                   AMENDED
                    Plaintiff,                                 SCHEDULING ORDER
      v.
                                                                     20-cv-856-wmc
BOARD OF REGENTS FOR
THE UNIVERSITY OF WISCONSIN SYSTEM,

                    Defendant.
_____________________________________________________________ ________________________

      At a November 12, 2021 telephonic hearing, the court reset the schedule:

             Disclosure of Experts: To be decided by the parties

             Deadline To File Dispositive Motions: March 4, 2022

             Discovery Cutoff: June 17, 2022

             Settlement Letters: June 17, 2022

             Rule 26(a)(3) Disclosures and motions in limine: June 24, 2022

                                                     Responses: July 8, 2022

             Final Pretrial Conference: July 19, 2022 at 4:00 p.m.

             Jury Selection and Trial: August 1, 2022 at 9:00 a.m.




      Entered this 16th day of November, 2021.

                                  BY THE COURT:

                                  /s/

                                  STEPHEN L. CROCKER
                                  Magistrate Judge
